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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  GALVESTON DIVISION

KERRY CHRISTINE JOHNSTON,                               §
                                                        §
        Plaintiff,                                      §
                                                        §
v.                                                      §       Case 3:22-cv-286
                                                        §
US BANK TRUST NATIONAL                                  §
ASSOCIATION, NOT IN ITS INDIVIDUAL                      §
CAPACITY BUT SOLELY AS OWNER                            §
TRUSTEE FOR VRMTG ASSET TRUST,                          §
                                                        §
        Defendant.                                      §

                       DISMISSAL STIPULATION WITH PREJUDICE

        Kerry Christine Johnston and U.S. Bank Trust National Association, not in its Individual

Capacity but Solely as Owner Trustee for VRMTG Asset Trust (U.S. Bank) stipulate to the

dismissal of Ms. Johnston's claims against U.S. Bank with prejudice.               R. 41.(a)(1)(A)(ii).

This stipulation disposes of all claims against all parties in this litigation and all court costs should

be borne by the party incurring the same. This stipulation further resolves the litigation referenced

by the lis pendens recorded at 2022040563 (state court lis pendens) and the lis pendens recorded

at 2022053434 (federal court lis pendens) in Galveston County, Texas deed records.

Date: April 10, 2023                                    Respectfully submitted,


                                                        /s/ Sheroo Bhagia
                                                        Sheroo Bhagia
                                                        Bhagia Law Firm
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                                                        ATTORNEY FOR KERRY JOHNSTON



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                                                 -and-


                                                 /s/ Melanie Morgan
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                                                 Attorney-in-Charge
                                                 R. Martin Dungan, SBN: 24099021
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                                                 ATTORNEYS FOR US BANK TRUST
                                                 NATIONAL ASSOCIATION, NOT IN
                                                 ITS INDIVIDUAL CAPACITY BUT
                                                 SOLELY AS OWNER TRUSTEE FOR
                                                 VRMTG ASSET TRUST


                             CERTIFICATE OF SERVICE

     A true and correct copy of this document was served on April 10, 2023 as follows:

VIA CM/ECF
Sheroo Bhagia
Bhagia Law Firm
2622 Carlow Drive
Austin, Texas 78745
sbhagia@bhagialawfirm.com
Plaintiff's Counsel
                                                /s/ Melanie Morgan
                                                Melanie Morgan




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